Case 2:12-cv-03046-RGK-MRW Document 144-1 Filed 02/15/13 Page 1 of 5 Page ID
                                #:4695


    Daniel L. Rasmussen, Bar No. 120276
  1 dlr@paynefears.com
    Scott O. Luskin, Bar No. 238082
  2 sol@paynefears.com
    PAYNE & FEARS LLP
  3 Attorneys at Law
    801 S. Figueroa Street, Suite 1150
  4 Los Angeles, California 90017
    Telephone: (213) 439-9911
  5 Facsimile: (213) 439-9922
  6
    THOMAS F.A. HETHERINGTON
  7 (Texas Bar No. 24007359)*
    tom.hetherington@emhllp.com
  8 JARRETT E. GANER
    (Texas Bar No. 24055570)*
  9 jarrett.ganer@emhllp.com
    SHANNON A. LANG (SBN 257470)
 10 shannon.lang@emhllp.com
    ERIN E. BENNETT
 11 (Texas Bar No. 24082681)*
    erin.bennett@emhllp.com
 12 EDISON, McDOWELL & HETHERINGTON LLP
    3200 Southwest Freeway, Suite 2100
 13 Houston, Texas 77027
    Telephone: (713) 337-5580
 14 Facsimile: (713) 337-8850
    * admitted pro hac vice
 15
    Attorneys for Defendant
 16 PHL VARIABLE INSURANCE COMPANY
 17
                          UNITED STATES DISTRICT COURT
 18
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 19
    U.S. BANK NATIONAL                        Case No. CV12-03046 - RGK (MRWx)
 20 ASSOCIATION, a National
    Association, as Securities Intermediary   DEFENDANT’S MEMORANDUM
 21 for LIMA ACQUISITION, LP,                 OF POINTS AND AUTHORITIES
                                              IN SUPPORT OF ITS MOTION
 22                                           IN LIMINE TO EXCLUDE
                 Plaintiff,                   EVIDENCE OF PRETEXT
 23
           v.                                 [MOTION IN LIMINE NO. 2]
 24
    PHL VARIABLE INSURANCE                    Hearing Date: April 2, 2013
 25 COMPANY,                                  Time:            9:00 a.m.
                                              Location:        Courtroom 850
 26              Defendant.                   Judge:          Hon. R. Gary Klausner
                                              Pre-Trial Conf.: March 18, 2013
 27                                           Trial Date:      April 2, 2013
 28
            DEFENDANT PHL VARIABLE INSURANCE COMPANY’S MEMORANDUM OF POINTS AND
                     AUTHORITIES IN SUPPORT OF ITS SECOND MOTION IN LIMINE
Case 2:12-cv-03046-RGK-MRW Document 144-1 Filed 02/15/13 Page 2 of 5 Page ID
                                #:4696



  1                           I.         PRELIMINARY STATEMENT
  2         Plaintiff U.S. Bank National Association, N.A., (“U.S. Bank”), as
  3 securities intermediary for Lima Acquisitions, LP alleges that Defendant PHL
  4 Variable Insurance Company (“PHL”) has breached the Implied Covenant of
  5 Good Faith and Fair Dealing (“bad faith”) and that PHL’s alleged delay in
  6 payment is part of an ongoing pattern of misconduct that allegedly violates
  7 provisions of the Connecticut Unfair Trade Practices Act (“CUTPA”). PHL
  8 submits this motion in limine to exclude U.S. Bank from submitting any evidence
  9 on or reference to its theory that PHL uses “pretext” to delay or deny claims.
 10                                II.     FACTUAL SUMMARY
 11         As has been described in further detail in other briefing, see, e.g., PHL’s
 12 Motion for Summary Judgment Dkt. # 116, PHL issued Policy No. 97514670 and
 13 Policy No. 97514671 in 2006, each with a face value of $10,000,000, to The Jane
 14 Doe Life Insurance Trust #2006 on the life of insured (“Jane Doe”). See SSUF ¶
 15 21.1 Shortly thereafter, PHL recorded collateral assignments for both policies in
 16 favor of J.P. Morgan Chase Bank, N.A. (“JPMC”). See SSUF ¶ 24. In August
 17 2010, PHL recorded a change of ownership and change of beneficiary for both
 18 policies in favor of U.S. Bank. See SSUF ¶ 25. Subsequently, PHL recorded a
 19 purported release of the JPMC collateral assignment. See SSUF ¶ 26. Following
 20 Jane Doe’s death in 2012, U.S. Bank submitted a death claim for the proceeds of
 21 the policies. See SSUF ¶ 32. PHL requested properly notarized claims forms,
 22 which U.S. Bank submitted on or around March 8, 2012.              See SSUF ¶ 37.
 23 During the claims handling process, PHL determined that it had insufficient
 24 documentation to verify that the releases of collateral assignments on the policies
 25 had been extinguished, and that this issue could result in multiple liability for the
 26
           Reference to the Statement of Facts and Supporting evidence submitted
            1

 27 with PHL’s MSJ is made to provide factual background.
                                          -1-
 28        DEFENDANT PHL VARIABLE INSURANCE COMPANY’S MEMORANDUM OF POINTS AND
                     AUTHORITIES IN SUPPORT OF ITS SECOND MOTION IN LIMINE
Case 2:12-cv-03046-RGK-MRW Document 144-1 Filed 02/15/13 Page 3 of 5 Page ID
                                #:4697



  1 Jane Doe Policies. See SSUF ¶¶ 31, 33–34. While PHL was conducting its
  2 claims handling process, U.S. Bank filed suit.
  3        In addition to its allegations about the handling of the claim at issue here,
  4 U.S. Bank contends that the alleged delay in payment is part of a larger pattern of
  5 alleged misconduct that violates CUTPA.          See Second Amended Complaint
  6 (“SAC”), ¶ 16. U.S. Bank relies on allegations contained in other lawsuits
  7 involving PHL, most of which have been brought by Plaintiff or by other clients
  8 of Plaintiff’s counsel, Orrick, Herrington & Sutcliffe LLP. SAC ¶¶ 50–94. Out
  9 of the 6 claims submitted by U.S. Bank since May 2012, PHL has paid 5 of them,
 10 with interest, at a rate 100 times higher than what Lima earns from its own
 11 savings account, for a total of $38,655,797.61. SSUF ¶¶ 13, 49–50. PHL has
 12 “resisted” only one of U.S. Bank’s claims, identified as the “Doe III Policy” in
 13 U.S. Bank’s SAC.        See SAC ¶¶ 50–70.      That policy is subject to separate
 14 litigation pending between U.S. Bank and PHL in the United States District Court
 15 for the District of Minnesota.      See U.S. Bank v. PHL Variable Insurance
 16 Company, No. 0:12-cv-00877-JRT-TNL (D. Minn.). None of the actions in
 17 pending litigation have resulted in any finding of wrongdoing against PHL.
 18                  III.   LEGAL ARGUMENTS AND AUTHORITIES
 19        Federal Rule of Evidence 403 provides that the Court should exclude
 20 evidence if “its probative value is substantially outweighed by a danger of one or
 21 more of the following: unfair prejudice, confusing the issues, misleading the jury,
 22 undue delay, wasting time, or needlessly presenting cumulative evidence. “Unfair
 23 prejudice” is found if the evidence would have an undue tendency to suggest a
 24 decision to the jury on an improper basis. United States v. Blackstone, 56 F.3d
 25 1143, 1146 (9th Cir. 1995).
 26        It is anticipated that U.S. Bank may submit evidence of other litigation in
 27 order to prove its theory that PHL uses “pretext” to delay or deny claims.
 28                                          -2-
            DEFENDANT PHL VARIABLE INSURANCE COMPANY’S MEMORANDUM OF POINTS AND
                   AUTHORITIES IN SUPPORT OF ITS SECOND MOTION IN LIMINE
Case 2:12-cv-03046-RGK-MRW Document 144-1 Filed 02/15/13 Page 4 of 5 Page ID
                                #:4698



  1 Reference to litigation that does not qualify as “pretext” should be excluded as
  2 prejudicial. Specifically, reference to the PHL Variable Ins. Co. v. Bank of Utah,
  3 United States District Court, District of Minnesota, Case No. 12-cv-01256-ADM-
  4 JJK; U.S. Bank Nat’l Ass’n v. PHL Variable Ins. Co., United States District
  5 Court, District of Minnesota, Case No. 12-CV-00877; PHL Variable Ins. Co. v.
  6 ESF QIF Trust, United States District Court, District of Delaware, Case No. 12-
  7 cv-319-LPS; PHL Variable Insurance Company v. Price Dawe 2006 Insurance
  8 Trust, by and through its Trustee Christiana Bank and Trust Co., Civ. A. No. 10-
  9 964-RGA, United States District Court, District of Delaware; PHL Variable
 10 Insurance Company v. 2008 Christa Joseph Irrevocable Trust, No. 10-CV-03001
 11 (PJS/TNL), United States District Court, District of Minnesota involve issues of
 12 Stranger-Originated Life Insurance (“STOLI”). Generally, these actions were
 13 either instituted by PHL or the death benefit claims were denied because PHL
 14 contends that there was no insurable interest at the time of policy issuance.
 15 These complex issues do not provide evidence of pretext as courts across the
 16 country have repeatedly affirmed PHL’s right to rescind policies that lack
 17 insurable interest; here, the probative value is substantially outweighed by its
 18 unfairly prejudicial nature such that the jury may rely on improper bases in
 19 determining the outcome of U.S. Bank’s claims.
 20        In addition, a policyholder’s choice to bring suit rather than fill out a trust
 21 certification form that is uniformly required does not evidence “pretext.” For this
 22 reason, mention, reference, or reliance on Karen Benjamin, as Trustee of the
 23 Jackson Family 2007 Irrevocable Trust v. PHL Variable Ins. Co., United States
 24 District Court, Central District of California, Case No. CV12-4556 and Wells
 25 Fargo Bank, N.A., Trustee of the Milton Levy 2006-1 Insurance Trust v. PHL
 26 Variable Ins. Co., United States District Court, Northern District of Texas, Case
 27 No. 3:12-CV-3760 is prejudicial. As such, the probative value is substantially
 28                                           -3-
            DEFENDANT PHL VARIABLE INSURANCE COMPANY’S MEMORANDUM OF POINTS AND
                   AUTHORITIES IN SUPPORT OF ITS SECOND MOTION IN LIMINE
Case 2:12-cv-03046-RGK-MRW Document 144-1 Filed 02/15/13 Page 5 of 5 Page ID
                                #:4699



  1 outweighed by its unfairly prejudicial nature such that the jury may rely on
  2 improper bases in determining the outcome of U.S. Bank’s claims.
  3        Finally, any rescissions or denials during the contestability period are
  4 irrelevant to the alleged “pretext” theory because PHL has a contractual right to
  5 investigation material misrepresentations during the contestability period.
  6 Therefore, the probative value of this evidence is substantially outweighed by its
  7 unfairly prejudicial nature such that the jury may rely on improper bases in
  8 determining the outcome of U.S. Bank’s claims. Accordingly, PHL requests that
  9 the Court enter an order in limine prohibiting U.S. Bank from submitting any
 10 evidence on or reference to PHL using “pretext” to delay or deny claims.
 11                               IV.   CONCLUSION
 12        For all the foregoing reasons, the PHL request that the Court grant this
 13 motion and enter an order in limine prohibiting the mention or reference to PHL
 14 using “pretext” to delay or deny claims.
 15
 16 DATED: February 15, 2013         EDISON, MCDOWELL & HETHERINGTON LLP

 17                                  /s/ Shannon A. Lang
 18                                  Thomas F.A. Hetherington
                                     Jarrett E. Ganer
 19                                  Shannon A. Lang
 20                                  Erin E. Bennett

 21                                  PAYNE & FEARS LLP
 22                                  Daniel L. Rasmussen
                                     Scott O. Luskin
 23
 24                                  Attorneys for Defendant PHL Variable Insurance
                                     Company
 25
 26
 27
 28                                            -4-
            DEFENDANT PHL VARIABLE INSURANCE COMPANY’S MEMORANDUM OF POINTS AND
                   AUTHORITIES IN SUPPORT OF ITS SECOND MOTION IN LIMINE
